       Case 4:22-cv-00325-RH-MAF Document 179 Filed 04/27/23 Page 1 of 47




                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF FLORIDA
                           TALLAHASSEE DIVISION


    AUGUST DEKKER, et al.,

                             Plaintiffs,
                                                    Case No. 4:22-cv-00325-RH-MAF
                        v.

    JASON WEIDA, et al.,

                             Defendants.


             PLAINTIFFS’ NOTICE OF FILING TRIAL EXHIBITS

        Pursuant to the Court’s November 15, 2022 Scheduling Order, Doc. 67,

Plaintiffs hereby submit this Notice of Filing Trial Exhibits, 1 with copies of each

exhibit Plaintiffs expect to or may offer at trial listed on the Exhibit List below and

appended hereto. 2 Plaintiffs reserve the right to use additional documents for

purposes of impeachment, and to offer any exhibit identified by Defendants.




1
    Due to the extensive number of documents, Plaintiffs are filing multiple, identical
    copies of this Notice on the case docket, each attaching a separate set of the below-
    listed exhibits.
2
    Plaintiffs have filed a separate Motion to Seal (Doc. 174) regarding the following
    exhibits: 232, 234, 234A, 235, 235A, 236, 236A, 236B, 236C, 237, 237A, and
    299. Copies of Exhibits 232 through 237A are not attached to this filing with
    placeholder documents attached instead; Plaintiffs are filing a redacted version of
    Exhibit 299. Plaintiffs will transmit original copies to the Court when such Motion
    to Seal is granted, pursuant to Local Rule 5.5.
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                     PLAINTIFFS’ TRIAL EXHIBIT LIST

                                                                       Stipulated/
Trial Ex.                                                 Will   May
              Bates No.       Exhibit Description                      Defendants’
  No.                                                     Use    Use
                                                                       Objections
                          Defendants’ Response to
Pls’ Trial   PLAINTIFF
                          Pls’ First Set of Request for X
Ex. 1        S002191
                          Admissions
                          Defendants’ Response to
Pls’ Trial   PLAINTIFF
                          Pls’ First Set of             X
Ex. 2        S002223
                          Interrogatories
                          Defendants’ Response to
Pls’ Trial   PLAINTIFF
                          Pls’ Second Set of                     X
Ex. 3        S002211
                          Interrogatories
Pls’ Trial   PLAINTIFF    Pls’ First Set of Request for
                                                        X
Ex. 4        S004943      Admissions
                          Expert report of Dr. Armand
Pls’ Trial   PLAINTIFF
                          H. Antommaria – 2/16/2023              X
Ex. 5        S002567
                          Expert report of Kellan E.
Pls’ Trial   PLAINTIFF    Baker, M.A., M.P.H., PhD –
                                                                 X
Ex. 6        S002922      2/17/2023

Pls’ Trial   PLAINTIFF    Expert report of Dr. Dan H.
                                                                 X
Ex. 7        S002638      Karasic – 2/15/2023
Pls’ Trial   PLAINTIFF    Expert report of Dr. Johanna
                                                                 X
Ex. 8        S002706      Olson-Kennedy – 2/16/2023
Pls’ Trial   PLAINTIFF    Expert report of Dr. Daniel
                                                                 X
Ex. 9        S007480      Shumer – 2/16/2023
Pls’ Trial   PLAINTIFF    Expert report of Dr. Loren
                                                                 X
Ex. 10       S002811      S. Schecter – 2/16/2023
Pls’ Trial   PLAINTIFF    Expert rebuttal report of Dr.
                                                                 X
Ex. 11       S002293      Dan H. Karasic – 3/9/2023
                          Expert rebuttal report of Dr.
Pls’ Trial   PLAINTIFF
                          Johanna Olson-Kennedy –                X
Ex. 12       S002332
                          3/9/2023
                          Expert rebuttal report of Dr.
Pls’ Trial   PLAINTIFF
                          Loren S. Schechter –                   X
Ex. 13       S002389
                          3/9/2023

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                                                                        Stipulated/
Trial Ex.                                                  Will   May
              Bates No.       Exhibit Description                       Defendants’
  No.                                                      Use    Use
                                                                        Objections
                          Expert rebuttal report of Dr.
Pls’ Trial   PLAINTIFF
                          Armand H. Antommaria –                  X
Ex. 14       S002406
                          3/10/2023
                          Corrected expert rebuttal
Pls’ Trial   PLAINTIFF
                          report of Dr. E. Kale                   X
Ex. 15       S002245
                          Edmiston – 3/22/2023
Pls’ Trial   PLAINTIFF    Expert rebuttal report of Dr.
                                                                  X
Ex. 16       S002518      Daniel Shumer – 3/10/2023
Pls’ Trial   PLAINTIFF    Expert rebuttal report of Dr.
                                                                  X
Ex. 17       S002446      Aron Janssen – 3/9/2023
Pls’ Trial   PLAINTIFF
                          AHCA GAPMS June 2022             X
Ex. 18       S001297
                          Marstiller Letter to Wallace
Pls’ Trial   PLAINTIFF
                          re AHCA June 2022                X
Ex. 19       S004646
                          GAPMS
Pls’ Trial   PLAINTIFF    Fla. Admin. Code R. 59G-
                                                           X
Ex. 20       S001171      1.050
Pls’ Trial   PLAINTIFF    Fla. Admin. Code R. 59G-
                                                                  X
Ex. 21       S001157      1.010
Pls’ Trial                Florida Medicaid
             PLAINTIFF
                          Definitions Policy (Aug.                X
Ex. 22       S001158
                          2017)
Pls’ Trial   PLAINTIFF    Fla. Admin. Code R. 59G-
                                                           X
Ex. 23       S001170      1.035
                          AHCA’s Preferred Drug
                          List, accessible at:
                          https://ahca.myflorida.com/c
                          ontent/download/8681/file/P
                          DL.pdf (online only);
                                                           X
                          including but not limited to
                          the criteria for testosterone:
                          https://ahca.myflorida.com/c
                          ontent/download/6451/file/T
                          estosterone_Criteria.pdf
                          AHCA’s Drug Criteria,
                                                           X
                          accessible at:

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                                                                      Stipulated/
Trial Ex.                                                Will   May
              Bates No.      Exhibit Description                      Defendants’
  No.                                                    Use    Use
                                                                      Objections
                          https://ahca.myflorida.com/
                          medicaid/prescribed-
                          drugs/drug-criteria (online
                          only)
                          AHCA’s Automated Prior
Pls’ Trial   PLAINTIFF
                          Authorizations and Bypass      X
Ex. 24       S001347
                          Lists 01-2023
Pls’ Trial   PLAINTIFF    DRUGDEX listing for
                                                         X
Ex. 25       S003653      Testosterone
Pls’ Trial   PLAINTIFF    DRUGDEX listing for
                                                         X
Ex. 26       S003383      Estradiol
Pls’ Trial   PLAINTIFF    Prior Authorization Criteria
                                                                X
Ex. 27       S001155      - Testosterone
                          Agency Responses to
Pls’ Trial   PLAINTIFF
                          Plaintiffs’ Questions: March   X
Ex. 28       S001283
                          1, 2023
                          2020-2021 Performance
Pls’ Trial   PLAINTIFF
                          Plan for Jeffrey English              X
Ex. 29       S001134
                          Email communication
Pls’ Trial   PLAINTIFF
                          between Jeffrey English and X
Ex. 30       S003843
                          Devona Pickle – 3/22/22
Pls’ Trial   PLAINTIFF    AHCA Analysis of Other
                                                      X
Ex. 31       S001296      States’ Medicaid Coverage
Pls’ Trial   PLAINTIFF    Miriam Grossman
                                                      X
Ex. 32       S004219      biography
Pls’ Trial   PLAINTIFF
                          DSM 5 Gender Dysphoria         X
Ex. 33       S003821
                          WPATH Standards of Care
Pls’ Trial   PLAINTIFF    for the Health of
                                                         X
Ex. 34       S006019      Transgender and Gender
                          Diverse People, Version 8
                          WPATH Standards of Care
Pls’ Trial   PLAINTIFF
                          for the Health of                     X
Ex. 35       S005308
                          Transsexual, Transgender,


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                                                                     Stipulated/
Trial Ex.                                               Will   May
              Bates No.      Exhibit Description                     Defendants’
  No.                                                   Use    Use
                                                                     Objections
                          and Gender Nonconforming
                          People, Version 7
                          AACAP Statement
Pls’ Trial   PLAINTIFF
                          Responding to Efforts to             X
Ex. 36       S001203
                          Ban Care (Nov. 8, 2019)
Pls’ Trial   PLAINTIFF    AAFP – Care for
                                                               X
Ex. 37       S001464      Transgender Patients
                          AAP – Ensuring
Pls’ Trial   PLAINTIFF
                          Comprehensive Care and               X
Ex. 38       S001208
                          Support
                          ACOG Committee Opinion
Pls’ Trial   PLAINTIFF    on Health Care for
                                                               X
Ex. 39       S001222      Transgender Individuals
                          (March 2021)
                          ACP – Attacks on Gender-
Pls’ Trial   PLAINTIFF
                          Affirming and Transgender            X
Ex. 40       S001278
                          Health Care (May 3, 2022)
Pls’ Trial   PLAINTIFF    LGBT Health Disparities
                                                               X
Ex. 41       S001236      Policy, ACOP
Pls’ Trial   PLAINTIFF    AMA Letter to Nat’l Gov.
                                                               X
Ex. 42       S001456      Assoc. (April 26, 2021)
                          AMA/GLMA Issue Brief on
Pls’ Trial   PLAINTIFF
                          health insurance coverage            X
Ex. 43       S001459
                          for gender-affirming care
Pls’ Trial   PLAINTIFF
                          AMA Resolution H-185.950             X
Ex. 44       S001458
                          APA, Guidelines for
Pls’ Trial   PLAINTIFF    Psychological Practice with
                                                               X
Ex. 45       S001466      Transgender and Gender
                          Non-conforming People
                          APA Resolution on Gender
Pls’ Trial   PLAINTIFF
                          Identity Change Efforts              X
Ex. 46       S001503
                          (Feb. 2021)
                          APA Position Statement
Pls’ Trial   PLAINTIFF
                          Trans and Gender Diverse             X
Ex. 47       S001501
                          Youth (July 2020)

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                                                                   Stipulated/
Trial Ex.                                             Will   May
              Bates No.      Exhibit Description                   Defendants’
  No.                                                 Use    Use
                                                                   Objections
Pls’ Trial   PLAINTIFF    APA Position Statement on
                                                             X
Ex. 48       S001499      Access to Care (July 2018)
                          Endocrine Society
Pls’ Trial   PLAINTIFF
                          Transgender Health Position        X
Ex. 49       S003880
                          Statement
                          Pediatric Endocrine Society
Pls’ Trial   PLAINTIFF    Opposition to Bills that
                                                             X
Ex. 50       S004931      Harm Transgender Youth
                          (April 2021)
                          SAHM Statement in
Pls’ Trial   PLAINTIFF    Opposition of State
                                                             X
Ex. 51       S005052      Legislation Barring
                          Evidence Based Treatment
                          WMA Statement on
Pls’ Trial   PLAINTIFF
                          Transgender People (Oct.           X
Ex. 52       S006014
                          2015)
Pls’ Trial   PLAINTIFF    Van Meter Pediatric
                                                      X
Ex. 53       S005978      Endocrinology Excerpt
                          Humana Pharmacy
                          Coverage Policy,
Pls’ Trial   PLAINTIFF
                          commercial insurance               X
Ex. 54       S004283
                          coverage policy for
                          testosterone – 5/18/2022
                          Aetna Clinical Policy
Pls’ Trial   PLAINTIFF
                          Bulletin, coverage of              X
Ex. 55       S004970
                          Progestins – 4/27/2023
                          Aetna, Clinical Policy
Pls’ Trial   PLAINTIFF
                          Bulletin, gender affirming         X
Ex. 56       S003985
                          surgery – 6/22/2023
                          Aetna, Clinical Policy
Pls’ Trial   PLAINTIFF
                          Bulletin, GnRHa –                  X
Ex. 57       S004068
                          2/23/2023
                          Humana, Medical Coverage
Pls’ Trial   PLAINTIFF    Policy, cover of gender
                                                             X
Ex. 58       S004255      affirmation surgery –
                          9/22/2022

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                                                                   Stipulated/
Trial Ex.                                             Will   May
              Bates No.      Exhibit Description                   Defendants’
  No.                                                 Use    Use
                                                                   Objections
                          Molina Healthcare,
Pls’ Trial   PLAINTIFF    Coverage criteria for Gender
                                                             X
Ex. 59       S004671      Dysphoria Hormone
                          Therapy – July 2023
                          Molina Clinical Policy,
Pls’ Trial   PLAINTIFF    Gender Affirmation
                                                             X
Ex. 60       S004648      Treatment and Procedures
                          (Marketplace) - 2/8/2023
                          UHC Gender Dysphoria
Pls’ Trial   PLAINTIFF
                          Treatment (commercial),            X
Ex. 61       S005897
                          4/1/2023
                          Ctrs. for Medicare &
                          Medicaid Servs., EPSDT –
Pls’ Trial   PLAINTIFF    A Guide for States:
                                                       X
Ex. 62       S001533      Coverage in the Medicaid
                          Benefit for Children and
                          Adolescents
                          Ctrs. for Medicare &
                          Medicaid Servs., CMCS
                          Informational Bulletin (July
Pls’ Trial   PLAINTIFF    21, 2022),
                                                             X
Ex. 63       S001149      https://www.medicaid.gov/f
                          ederal-policy-
                          guidance/downloads/cib072
                          12022.pdf
                          Ctrs. for Medicare &
                          Medicaid Servs., Decision
Pls’ Trial   PLAINTIFF
                          Memo for Gender                    X
Ex. 64       S001034
                          Dysphoria and Surgery
                          (Aug. 20, 2016)
                          Office of the Press
Pls’ Trial   PLAINTIFF
                          Secretary, Presidential            X
Ex. 65       S007539
                          Memo (Aug. 25, 2017)
                          FDA, Indications and
Pls’ Trial   PLAINTIFF
                          Usage Section of Labeling    X
Ex. 66       S003931
                          for Human Prescription

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                                                                   Stipulated/
Trial Ex.                                             Will   May
              Bates No.      Exhibit Description                   Defendants’
  No.                                                 Use    Use
                                                                   Objections
                          Drug and Biological
                          Products (Draft Guidance)
                          (2018),
                          https://www.fda.gov/files/dr
                          ugs/published/Indications-
                          and-Usage-Section-of-
                          Labeling-for-Human-
                          Prescription-Drug-and-
                          Biological-Products-
                          %E2%80%94-Content-and-
                          Format-Guidance-for-
                          Industry.pdf
                          FDA, Understanding
                          Unapproved Use of
                          Approved Drugs "Off
                          Label," (2018),
Pls’ Trial   PLAINTIFF    https://www.fda.gov/patient
                                                       X
Ex. 67       S003951      s/learn-about-expanded-
                          access-and-other-treatment-
                          options/understanding-
                          unapproved-use-approved-
                          drugs-label.
                          U.S. Drug Enforcement
                          Administration, Drug
Pls’ Trial   PLAINTIFF
                          Scheduling, July 10, 2018,   X
Ex. 68       S005967
                          https://www.dea.gov/drug-
                          information/drug-scheduling
                          U.S. Comm. on Civil Rights
                          Statement on State Laws
Pls’ Trial   PLAINTIFF
                          Targeting LGBTQ                    X
Ex. 69       S005973
                          Community, (April 18,
                          2016)
                          U.S. Comm. on Civil Rights
Pls’ Trial   PLAINTIFF
                          Statement on Military Ban          X
Ex. 70       S001132
                          (Aug. 18, 2017)
Pls’ Trial   PLAINTIFF    Dep’t of Health & Human
                                                             X
Ex. 71       S001006      Servs., Departmental
                                       8
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                                                                   Stipulated/
Trial Ex.                                             Will   May
              Bates No.      Exhibit Description                   Defendants’
  No.                                                 Use    Use
                                                                   Objections
                          Appeals Bd., Appellate
                          Div., Decision No. 2576
                          (May 30, 2014),
                          hhs.gov/sites/default/files/st
                          atic/dab/decisions/boarddeci
                          sions/2014/dab2576.pdf
Pls’ Trial   PLAINTIFF    OASH, Gender-Affirming
                                                             X
Ex. 72       S004813      Care and Young People
                          SAMHSA, Ending
Pls’ Trial   PLAINTIFF
                          Conversion Therapy (Oct.           X
Ex. 73       S005055
                          2015)
Pls’ Trial   PLAINTIFF    SAMHSA, Moving Beyond
                                                             X
Ex. 74       S005131      Change Efforts (2023)
                          NCTSN, Gender-Affirming
Pls’ Trial   PLAINTIFF
                          Care is Trauma-Informed            X
Ex. 75       S004794
                          Care
                          U.S. Presidential
Pls’ Trial   PLAINTIFF
                          Proclamation, Transgender          X
Ex. 76       S004968
                          Day of Visibility, 2022
                          U.S. Presidential
Pls’ Trial   PLAINTIFF
                          Proclamation, Transgender          X
Ex. 77       S004966
                          Day of Visibility, 2023
                          Executive Order, Preventing
                          and Combating
Pls’ Trial   PLAINTIFF
                          Discrimination on the Basis X
Ex.78        S003887
                          of Gender Identity or Sexual
                          Orientation (Jan. 20, 2021)
                          Medicaid Coverage for
Pls’ Trial   PLAINTIFF    Gender-Affirming Care,
                                                             X
Ex. 79       S005990      Williams Institute (Dec.
                          2022)
                          Excerpts from trial
Pls’ Trial   PLAINTIFF    transcript – Vol. 5 (Levine),
                                                             X
Ex. 80       S004432      Brandt v. Rutledge, 4:21-
                          CV-00450-JM (E.D. Ark.)


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                                                                        Stipulated/
Trial Ex.                                                  Will   May
              Bates No.       Exhibit Description                       Defendants’
  No.                                                      Use    Use
                                                                        Objections
                          Excerpts from trial
Pls’ Trial   PLAINTIFF    transcript – Vol. 6 (Lappert),
                                                                  X
Ex. 81       S004312      Brandt v. Rutledge, 4:21-
                          CV-00450-JM (E.D. Ark.)
                          Trial Transcript, Soneeya v.
Pls’ Trial   PLAINTIFF
                          Turco, No. 07:12325-DPW                 X
Ex. 82       S005895
                          (U.S.D.C. Ma.)
                          Deposition of Stephen
Pls’ Trial   PLAINTIFF    Levine, B.P.J. v. W. VA,
                                                                  X
Ex. 83       S001511      2:21-CV-00316 (W.D.
                          W.V.)
                          Transcript of Preliminary
Pls’ Trial
             PLAINTIFF    Injunction Hearing_Vol. 2,
Ex. 84                                                            X
             S005841      Eknes-Tucker v. Ivey, 2:22-
                          cv-00184 (M.D. Ala.)
                          Deposition of Stephen
Pls’ Trial   PLAINTIFF
                          Levine, Claire v. D.M.S.,               X
Ex. 85       S003214
                          4:20-cv-00020 (N.D. Fla.)
                          Deposition of Stephen
Pls’ Trial   PLAINTIFF    Levine, Fain v. Crouch,
                                                                  X
Ex. 86       S003225      3:20-cv-00740 (S.D. W.
                          Va.)
                          Deposition of Stephen
Pls’ Trial   PLAINTIFF
                          Levine, Kadel v. Folwell,               X
Ex. 87       S003280
                          1:19-cv-272 (M.D. N.C.)
                          Deposition of Kim G.
Pls’ Trial   PLAINTIFF    Hutton, Adams v. St. Johns,
                                                                  X
Ex. 88       S003153      No. 3:17-cv-00739 (M.D.
                          Fla.)
                          Expert Declaration of Paul
Pls’ Trial   PLAINTIFF    W. Hruz, Adams v. St.
                                                                  X
Ex. 89       S003890      Johns, No. 3:17-cv-00739
                          (M.D. Fla.)
                          Deposition of Paul W. Hruz,
Pls’ Trial   PLAINTIFF
                          Adams v. St. Johns, No.                 X
Ex. 90       S002980
                          3:17-cv-00739 (M.D. Fla.)

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                                                                   Stipulated/
Trial Ex.                                             Will   May
              Bates No.      Exhibit Description                   Defendants’
  No.                                                 Use    Use
                                                                   Objections
                          Deposition of Paul W. Hruz,
Pls’ Trial   PLAINTIFF
                          Bruce v. South Dakota, No.         X
Ex. 91       S003032
                          17-5080 (USDC SD)
                          Declaration of Norman P.
Pls’ Trial   PLAINTIFF    Spack, Adams v. St. Johns,
                                                             X
Ex. 92       S002158      No. 3:17-cv-00739 (M.D.
                          Fla.)
                          Expert Declaration of Paul
Pls’ Trial   PLAINTIFF    W. Hruz, Whitaker v.
                                                             X
Ex. 93       S002162      Kenosha, 2:16-cv-00943
                          (E.D. Wis.)
                          Deposition of Paul W. Hruz,
Pls’ Trial   PLAINTIFF
                          Kadel v. Folwell, 1:19-cv-         X
Ex. 94       S003042
                          00272 (M.D. N.C.)
             PLAINTIFF    Deposition of Patrick
Pls’ Trial
             S001582;     Lappert, Kadel v. Folwell,         X
Ex. 95
                          1:19-cv-00272 (M.D. N.C.)
                          Deposition of Michael
Pls’ Trial   PLAINTIFF
                          Laidlaw, C.P. v. Blue Cross, X
Ex. 96       S003168
                          3:20-cv-066145 (W.D. Wa.)
                          Deposition of Van Meter,
Pls’ Trial   PLAINTIFF    Grimm v. Gloucester
                                                       X
Ex. 97       S003323      County School Bd.
                          (3/18/2019)
                          Hearing on Motion for
                          Temporary Injunction,
Pls’ Trial   PLAINTIFF
                          PFLAG v. Abbott, No. D-1-          X
Ex. 98       S004235
                          GN-22-002569 (Tex. Dist.
                          Ct., Travis Cnty.)
                          Email communication
Pls’ Trial   PLAINTIFF
                          between Gonzalez-Pagan             X
Ex. 99       S003841
                          and Lisa Tetrault (4/4/2023)
Pls’ Trial   PLAINTIFF
                          Shupe email (3/30/2020)     X
Ex. 100      S005301
Pls’ Trial   PLAINTIFF
                          Clark email (3/19/2020)     X
Ex. 101      S001526

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                                                                      Stipulated/
Trial Ex.                                                Will   May
              Bates No.      Exhibit Description                      Defendants’
  No.                                                    Use    Use
                                                                      Objections
Pls’ Trial   PLAINTIFF
                          Broyles email (10/30/2019)     X
Ex. 102      S001521
Pls’ Trial   PLAINTIFF
                          Van Meter email (2/4/2020)     X
Ex. 103      S005975
                          A Texas judge ruled this
Pls’ Trial   PLAINTIFF    doctor was not an expert,
                                                         X
Ex. 104      S007478      Pennsylvania Capital-Star
                          (Sept. 15, 2020)
             PLAINTIFF    First, do no harm: thinking
Pls’ Trial
             S003965;     through transgender issues,    X
Ex. 105
                          Zanga (Aug. 1, 2018)
Pls’ Trial   PLAINTIFF    First, do no harm, Zanga,
                                                         X
Ex. 106      S003968      AHCA Production
                          The Bulletin, Vol. 63, No. 6
Pls’ Trial   PLAINTIFF
                          (June 2018) – First, do no     X
Ex. 107      S005436
                          harm
                          Neurobiology of gender
Pls’ Trial   PLAINTIFF
                          identity and sexual            X
Ex. 108      S004799
                          orientation, 2018 Roselli
Pls’ Trial   PLAINTIFF    Correction to Littman
                                                                X
Ex. 109      S001577      (March 19, 2019)
Pls’ Trial   PLAINTIFF    Comment on Littman, Costa
                                                         X
Ex. 110      S001574      2019
                          Psychotherapy for
Pls’ Trial   PLAINTIFF    Unwanted Homosexual
                                                         X
Ex. 111      S005026      Attraction, ACOP (Jan
                          2016)
Pls’ Trial   PLAINTIFF    Homosexual Parenting,
                                                         X
Ex. 112      S004250      ACOP (May 2019)
                          Gender Dysphoria in
Pls’ Trial   PLAINTIFF
                          Children, ACOP (Nov.           X
Ex. 113      S004029
                          2018)
                          Why We Stand Up for
Pls’ Trial   PLAINTIFF
                          Transgender Children and       X
Ex. 114      S005986
                          Teens, AAP (Aug. 10, 2022)


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                                                                     Stipulated/
Trial Ex.                                               Will   May
              Bates No.      Exhibit Description                     Defendants’
  No.                                                   Use    Use
                                                                     Objections
                          AAP continues to support
Pls’ Trial   PLAINTIFF
                          care of transgender youths,   X
Ex. 115      S001205
                          AAP (Jan. 6, 2022)
                          Facts, not flattery, about
Pls’ Trial   PLAINTIFF    same-sex attraction,
                                                        X
Ex. 116      S003924      MERCATOR (May 22,
                          2007)
                          Pediatricians’ Groups
                          Differ On Attitudes Toward
Pls’ Trial   PLAINTIFF
                          Homosexual Parenting,         X
Ex. 117      S004932
                          Waller and Nicolosi (July
                          17, 2003)
                          Elect Candidates Who
Pls’ Trial   PLAINTIFF    Support the Best for
                                                        X
Ex. 118      S003838      Children, ACOP (Oct.
                          2018)
                          International clinical
Pls’ Trial   PLAINTIFF    practice guidelines for
                                                               X
Ex. 119      S004291      gender minority/trans
                          people, 2021 Dahlen et al.
                          The Journal of the Amer.
Pls’ Trial   PLAINTIFF
                          Acad. Of Psychiatry and the   X
Ex. 120      S005832
                          Law
Pls’ Trial   PLAINTIFF    On Gender Dysphoria, 2017
                                                               X
Ex. 121      S004815      Dhejne
                          Long-Term Follow-up of
                          Transsexual Persons
Pls’ Trial   PLAINTIFF
                          Undergoing Sex                       X
Ex. 122      S004629
                          Reassignment Surgery, 2011
                          Dhejne
                          Endocrine Treatment of
Pls’ Trial   PLAINTIFF    Gender-Dysphoric/Gender-
                                                               X
Ex. 123      S003882      Incongruent Persons, 2017
                          Hembree et al.



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                          Exploratory Therapy, 2023          X
Ex. 124      S004302
                          Ashley
                          Transgender Surgery &
Pls’ Trial   PLAINTIFF    Christian Anthropology,
                                                             X
Ex. 125      S004819      Presentation by Patrick W.
                          Lappert
                          What is Psychiatry,
Pls’ Trial   PLAINTIFF
                          American Psychiatric               X
Ex. 126      S005980
                          Association
                          Lewis’s Child and
Pls’ Trial   PLAINTIFF
                          Adolescent Psychiatry, Fifth       X
Ex. 127      S004222
                          Edition, 2018
                          Memo Outlining Evidence
Pls’ Trial   PLAINTIFF    for Change for Gender
                                                             X
Ex. 128      S003970      Identity Disorder in the
                          DSM-5, 2013 Zucker, et al.
                          A Developmental,
                          Biopsychosocial Model for
Pls’ Trial   PLAINTIFF
                          the Treatment of Children    X
Ex. 129      S001173
                          with Gender Identity
                          Disorder, 2012 Zucker
Pls’ Trial   PLAINTIFF    APA Statement on Zucker
                                                       X
Ex. 130      S001510      (2008)
                          Working for Inclusion:
                          Time for Congress to Enact
                          Federal Legislation to
Pls’ Trial   PLAINTIFF    Address Workplace
                                                             X
Ex. 131      S004475      Discrimination Against
                          Lesbian, Gay, Bisexual, and
                          Transgender Americans,
                          Briefing Report
                          Position Statement on
Pls’ Trial   PLAINTIFF
                          Conversion Therapy, APA      X
Ex. 132      S004963
                          (Dec. 2018)


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                          Do Clinical Data from
                          Transgender Adolescents
Pls’ Trial   PLAINTIFF
                          Support the Phenomenon of              X
Ex. 133      S005046
                          Rapid Onset Gender
                          Dysphoria, 2022 Bauer et al.
                          American Society of Plastic
                          Surgeons, State Focus on
                          Gender Affirmation
                          Intensifies, Feb. 25, 2021,
Pls’ Trial   PLAINTIFF    https://www.plasticsurgery.
                                                                 X
Ex. 134      S003921      org/for-medical-
                          professionals/advocacy/advo
                          cacy-
                          news/state-focus-on-gender-
                          affirmation-intensifies.
                          Plastic surgeon: Sex-change
                          operation ‘utterly
                          unacceptable’ and a form of
                          ‘child abuse,’ Sept. 9, 2019,
Pls’ Trial   PLAINTIFF    https://www.lifesitenews.co
                                                                 X
Ex. 135      S004934      m/news/plastic-
                          surgeon-sex-change-
                          operation-utterly-
                          unacceptable-and-a-form-of-
                          child-abuse/.
                          Transphobic tweets linked to
Pls’ Trial   PLAINTIFF    Oxford sociology professor,
                                                                 X
Ex. 136      S005870      The Oxford Student (Oct.
                          26, 2018)
                          Long-term outcomes of the
                          treatment of central
Pls’ Trial   PLAINTIFF
                          precocious puberty, 2016               X
Ex. 137      S004637
                          Guaraldi, et al.

                          Fertility of Women Treated
Pls’ Trial   PLAINTIFF
                          during Childhood with                  X
Ex. 138      S003955
                          Triptorelin (Depot
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                          Formulation) for Central
                          Precocious Puberty, 2021
                          Martinerie, et al.
                          Gender dysphoria in
Pls’ Trial   PLAINTIFF
                          childhood, 2016 Ristori &             X
Ex. 139      S004021
                          Steensman
             PLAINTIFF    Gender Identity 5 Years
Pls’ Trial
             S004049;     After Social Transition,              X
Ex. 140
                          2022 Olson et al.
                          Puberty Suppression in
Pls’ Trial   PLAINTIFF    Adolescents With Gender
                                                                X
Ex. 141      S006594      Identity Disorder, 2011 de
                          Vries, et al.
                          Understanding the Well-
                          Being of LGBTQI+
Pls’ Trial   PLAINTIFF
                          Populations, 2020 Nat’l               X
Ex. 142      S005914
                          Academies of Sciences,
                          Engineering, and Medicine
                          The Health of Lesbian, Gay,
                          Bisexual and Transgender
Pls’ Trial   PLAINTIFF
                          People, 2011 Nat’l                    X
Ex. 143      S005465
                          Academies of Sciences,
                          Engineering, and Medicine
                          The Right to the Best Care
                          for Children Does Not
Pls’ Trial   PLAINTIFF
                          Include the Right to Medical          X
Ex. 144      S005837
                          Transition, 2019 Laidlaw, et
                          al.
                          Strangers in a Strange
Pls’ Trial   PLAINTIFF
                          Land, 2020 Donovan &                  X
Ex. 145      S005428
                          Sotomayor
                          Effect of antidepressant
                          medications on semen
Pls’ Trial   PLAINTIFF
                          parameters and male                   X
Ex. 146      S003830
                          fertility, 2020 Beeder &
                          Samplaski

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                          The effect of antidepressants
Pls’ Trial   PLAINTIFF
                          on fertility, 2016 Casilla-          X
Ex. 147      S005460
                          Lennon, et al.
                          Trends in Gender-affirming
Pls’ Trial   PLAINTIFF
                          Surgery in Insured Patients          X
Ex. 148      S005888
                          in the U.S., 2018 Lane et al.
                          UCSF Ctr. For Excellence
                          in Transgender Care
                          Guidelines,
                          https://transcare.ucsf.edu/gui X
                          delines

                          (online only)
                          Gender-Affirming Treatment
Pls’ Trial   PLAINTIFF    of Gender Dysphoria in
                                                               X
Ex. 149      S004056      Youth, 2022 Clayton et al.

                          AAP News, Risk of
                          Pseudotumor Cerebri added
Pls’ Trial   PLAINTIFF    to Labeling for
                                                               X
Ex. 150      S006279      Gonadotropin-Releasing
                          Hormone Agonists, (2022)

                          Longitudinal Impact of
                          Gender-Affirming
                          Endocrine Intervention on
Pls’ Trial   PLAINTIFF
                          the Mental Health and Well-          X
Ex. 151      S006281
                          Being of Transgender
                          Youths, 2020 Achille et al.

                          Long-Term Effect of
                          Gender-Affirming Hormone
Pls’ Trial   PLAINTIFF    Treatment on Depression
                                                               X
Ex. 152      S006286      and Anxiety Symptoms in
                          Transgender People, 2020
                          Aldridge et al.

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                          Off-Label Medication use in
                          Children, More Common
Pls’ Trial   PLAINTIFF    than We Think: A Systematic
                                                               X
Ex. 153      S006295      Review of the Literature,
                          2018 Allen et al.

                          Association Between
                          Gender-Affirming Surgeries
Pls’ Trial   PLAINTIFF    and Mental Health
                                                               X
Ex. 154      S006314      Outcomes, 2021 Almazan et
                          al.

                          Top Surgery and Chest
                          Dysphoria Among
                          Transmasculine and
Pls’ Trial   PLAINTIFF
                          Nonbinary Adolescents and            X
Ex. 155      S006322
                          Young Adults, 2022 Ascha
                          et al.

                          Hormone Therapy, Mental
                          Health, and Quality of Life
Pls’ Trial   PLAINTIFF    Among Transgender
                                                               X
Ex. 156      S006330      People: A Systematic
                          Review, 2021 Baker et al.

                          GRADE Guidelines: 3
                          Rating the Quality of
Pls’ Trial   PLAINTIFF
                          Evidence, 2011 Balshem et            X
Ex. 157      S006346
                          al.

                          Harry Benjamin, The
Pls’ Trial   PLAINTIFF    Transsexual Phenomenon
                                                               X
Ex. 158      S006352      (1966)




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                          Anabolic Steroid Abuse and
Pls’ Trial   PLAINTIFF    Dependence, 2002 Brower
                                                               X
Ex. 159      S006492      et al.

                          Transgender and Gender-
                          Nonbinary Patient
Pls’ Trial   PLAINTIFF    Satisfaction after
                                                               X
Ex. 160      S006516      Transmasculine Chest
                          Surgery, 2021 Bustos et al.

                          Regret after Gender-
                          affirmation Surgery: A
Pls’ Trial   PLAINTIFF    Systematic Review and
                                                               X
Ex. 161      S006503      Metaanalysis of Prevalence,
                          2021 Bustos et al.

                          Effects of Long-Term
                          Exogenous Testosterone
                          Administration on Ovarian
                          Morphology, Determined by
Pls’ Trial   PLAINTIFF
                          Transvaginal (3D)                    X
Ex. 162      S006526
                          Ultrasound in Female-to-
                          Male Transsexuals, 2017
                          Caanen et al.

                          Short-term Outcomes of
                          Pubertal Suppression in a
                          Selected Cohort of 12 to 15
Pls’ Trial   PLAINTIFF    Year Old Young People with           X
Ex. 163      S006534      Persistent Gender
                          Dysphoria in the UK, 2021
                          Carmichael at al.

                          Psychosocial Functioning in
Pls’ Trial   PLAINTIFF    Transgender Youth after 2
                                                               X
Ex. 164      S006560      Years of Hormones, 2023
                          Chen et al.
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                          Pubertal Delay as an Aid in
                          Diagnosis and Treatment of
Pls’ Trial   PLAINTIFF    a Transsexual Adolescent,
                                                                X
Ex. 165      S006571      1998 Cohen-Kettenis & van
                          Goozen

                          Hormonal Treatment
                          Reduces Psychobiological
                          Distress in Gender Identity
Pls’ Trial   PLAINTIFF
                          Disorder, Independently of            X
Ex. 166      S006574
                          the Attachment Style, 2013
                          Colizzi et al.

                          Psychological Support,
                          Puberty Suppression, and
Pls’ Trial   PLAINTIFF    Psychosocial Functioning in
                                                                X
Ex. 167      S006585      Adolescents with Gender
                          Dysphoria, 2015 Costa et al.

                          Young Adult Psychological
                          Outcome After Puberty
Pls’ Trial   PLAINTIFF
                          Suppression and Gender                X
Ex. 168      S006602
                          Reassignment, 2014 de
                          Vries et al.
                          An Analysis of All
                          Applications for Sex
                          Reassignment Surgery in
Pls’ Trial   PLAINTIFF
                          Sweden, 1960-2010:                    X
Ex. 169      S006611
                          Prevalence, Incidence, and
                          Regrets, 2014 Dhejne et al.

                          Gender Nonconforming
Pls’ Trial   PLAINTIFF    Youth: Current
                                                                X
Ex. 170      S006623      Perspectives, 2017
                          Ehrensaft

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                          What makes clinical
Pls’ Trial   PLAINTIFF    research ethical?, 2000
                                                               X
Ex. 171      S006634      Emanuel et al.

                          Treatment of Central
Pls’ Trial   PLAINTIFF
                          Precocious Puberty, 2019             X
Ex. 172      S006645
                          Eugster
                          Cross-Sex Hormone
                          Treatment and
                          Psychobiological Changes
Pls’ Trial   PLAINTIFF
                          in Transsexual Persons:              X
Ex. 173      S006653
                          Two-Year Follow-Up Data,
                          2016 Fisher et al.

                          Chest Surgery in Female to
                          Male Transgender
Pls’ Trial   PLAINTIFF
                          Individuals, 2017 Frederick          X
Ex. 174      S006663
                          et al.

                          Off-Label Use of Drugs in
Pls’ Trial   PLAINTIFF    Children, 2014 Galinkin et
                                                               X
Ex. 175      S006668      al.

                          Association of Gender-
                          Affirming Hormone Therapy
                          With Depression, Thoughts
Pls’ Trial   PLAINTIFF    of Suicide, and Attempted
                                                               X
Ex. 176      S006676      Suicide Among Transgender
                          and Nonbinary Youth, 2022
                          Green

                          Feminizing Genital Gender-
Pls’ Trial   PLAINTIFF    Confirmation Surgery, 2018
                                                               X
Ex. 177      S006693      Hadj-Moussa et al.


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                          Satisfaction with Male-to-
                          Female Gender
Pls’ Trial   PLAINTIFF
                          Reassignment Surgery, 2014             X
Ex. 178      S006707
                          Hess et al.

                          Effects of Different Steps in
                          Gender Reassignment
Pls’ Trial   PLAINTIFF    Therapy on
                                                                 X
Ex. 179      S006717      Psychopathology, 2014
                          Heylens, et al.

                          Supporting Sexuality and
                          Improving Sexual Function
Pls’ Trial   PLAINTIFF
                          in Transgender Persons,                X
Ex. 180      S006725
                          2019 Holmberg et al.

                          Outcome of Vaginoplasty in
                          Male-to-Female
                          Transgenders: A Systematic
Pls’ Trial   PLAINTIFF
                          Review of Surgical                     X
Ex. 181      S006744
                          Techniques, 2015 Horbach
                          et al.

                          The Quality of Evidence for
                          Medical Interventions Does
Pls’ Trial   PLAINTIFF    Not Improve or Worsen: A
                                                                 X
Ex. 182      S006759      Metaepidemiological Study
                          of Cochrane Reviews, 2020
                          Howick et al.
                          Testosterone Treatment and
                          MMPI–2 Improvement in
Pls’ Trial   PLAINTIFF
                          Transgender Men, 2015                  X
Ex. 183      S006765
                          Keo-Meier et al.

Pls’ Trial   PLAINTIFF    Bone Mass in Young
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Ex. 184      S006779      Adulthood Following

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                          Gonadotropin-Releasing
                          Hormone Analog Treatment
                          and Cross-Sex Hormone
                          Treatment in Adolescents
                          with Gender Dysphoria,
                          2015 Klink et al.

                          Fertility Options in
                          Transgender and Gender
Pls’ Trial   PLAINTIFF
                          Diverse Adolescents, 2017           X
Ex. 185      S006785
                          Knudson & De Sutter

                          Australian Children and
Pls’ Trial   PLAINTIFF    Adolescents with Gender
                                                              X
Ex. 186      S006789      Dysphoria, 2021 Kozlowska
                          et al.
                          Body Dissatisfaction and
                          Mental Health Outcomes of
Pls’ Trial   PLAINTIFF    Youth on Gender-Affirming
                                                              X
Ex. 187      S006815      Hormone Therapy, 2020
                          Kuper et al.

                          Transgender Men Who
                          Experienced Pregnancy
Pls’ Trial   PLAINTIFF
                          After Female-to-Male                X
Ex. 188      S006824
                          Gender Transitioning, 2014
                          Light, et al.
                          Psychosocial Assessment in
Pls’ Trial   PLAINTIFF    Transgender Adolescents,
                                                              X
Ex. 189      S006833      2020 Lopez de Lara.

                          Christy Mallory et al.,
Pls’ Trial   PLAINTIFF    Conversion Therapy and
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Ex. 190      S006841      LGBT Youth 2 (2019 ed.)




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                          Successful Oocyte
                          Cryopreservation Using
                          Letrozole as an Adjunct to
                          Stimulation in a
Pls’ Trial   PLAINTIFF
                          Transgender Adolescent                 X
Ex. 191      S006852
                          after GnRH Agonist
                          Suppression, 2021 Martin et
                          al.

                          Experience of Chest
                          Dysphoria and
Pls’ Trial   PLAINTIFF    Masculinizing Chest
                                                                 X
Ex. 192      S006858      Surgery in Transmasculine
                          Youth, 2021 Mehringer et al.

                          Breast Augmentation in
                          Male-to-Female
                          Transgender Patients:
Pls’ Trial   PLAINTIFF
                          Technical Considerations               X
Ex. 193      S006867
                          and Outcomes, 2019 Miller
                          et al.

                          Guiding the Conversation—
                          Types of Regret after
                          Gender-Affirming Surgery
Pls’ Trial   PLAINTIFF
                          and Their Associated                   X
Ex. 194      S006879
                          Etiologies, 2021 Narayan et
                          al.

                          Individual Treatment
                          Progress Predicts
                          Satisfaction with Transition-
Pls’ Trial   PLAINTIFF
                          Related Care for Youth with            X
Ex. 195      S006891
                          Gender Dysphoria, 2021
                          Nieder et al.


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                          Sexual Experiences in
Pls’ Trial   PLAINTIFF    Transgender People, 2018
                                                                  X
Ex. 196      S006905      Nikkelen & Baudewijntje.

                          Quality of Life of
                          Treatment-Seeking
Pls’ Trial   PLAINTIFF
                          Transgender Adults, 2018                X
Ex. 197      S006918
                          Nobili et al.

                          Chest Reconstruction and
                          Chest Dysphoria in
                          Transmasculine Minors and
Pls’ Trial   PLAINTIFF    Young Adults: Comparisons
                                                                  X
Ex. 198      S006955      of Nonsurgical and
                          Postsurgical Cohorts, 2018
                          Olson-Kennedy et al.

                          Mental Health of
Pls’ Trial   PLAINTIFF    Transgender Children Who
                                                                  X
Ex. 199      S006940      Are Supported in Their
                          Identities, 2016 Olson, et al.
                          Association Between Gender
                          Confirmation Treatments
                          and Perceived Gender
                          Congruence, Body Image
Pls’ Trial   PLAINTIFF
                          Satisfaction, and Mental                X
Ex. 200      S006961
                          Health in a Cohort of
                          Transgender Individuals,
                          2018 Owen-Smith, et al.

                          Male-to-Female Sex
                          Reassignment Surgery
                          Using the Combined
Pls’ Trial   PLAINTIFF
                          Technique Leads to                      X
Ex. 201      S006981
                          Increased Quality of Life in
                          a Prospective Study, 2017
                          Papadopulos et al.
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                          Sex Reassignment. Thirty
                          Years of International
                          Follow-up Studies After Sex
Pls’ Trial   PLAINTIFF    Reassignment Surgery: A
                                                                X
Ex. 202      S006990      Comprehensive Review,
                          1961-1991, 1998 Pfafflin &
                          Junge

                          Advancing Methods for U.S.
Pls’ Trial   PLAINTIFF    Transgender Health
                                                                X
Ex. 203      S006997      Research, 2015 Reisner

                          Approach to the Patient:
                          Transgender Youth:
Pls’ Trial   PLAINTIFF
                          Endocrine Considerations,             X
Ex. 204      S007008
                          2014 Rosenthal

                          Oocyte Cryopreservation in
                          a Transgender Male
Pls’ Trial   PLAINTIFF
                          Adolescent, 2019                      X
Ex. 205      S007019
                          Rothenberg et al.

                          Royal College of
                          Psychiatrists, Good Practice
                          Guidelines for the
Pls’ Trial   PLAINTIFF
                          Assessment and Treatment              X
Ex. 206      S007021
                          of Adults with Gender
                          Dysphoria (2013).

                          Transgender Associations
                          and Possible Etiology:A
Pls’ Trial   PLAINTIFF
                          Literature Review, 2017               X
Ex. 207      S007083
                          Saleem & Rizvi




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                          Regret Associated with the
                          Decision for Breast
Pls’ Trial   PLAINTIFF
                          Reconstruction, 2008                  X
Ex. 208      S007088
                          Sheehan et al.

                          Sex Reassignment:
                          Outcomes and Predictors of
Pls’ Trial   PLAINTIFF    Treatment for Adolescent
                                                                X
Ex. 209      S007103      and Adult Transsexuals,
                          2005 Smith, et al.

                          Gender-Affirming
                          Mastectomy Trends and
Pls’ Trial   PLAINTIFF    Surgical Outcomes in
                                                                X
Ex. 210      S007114      Adolescents, 2022 Tang et
                          al.

                          Mental Health Outcomes in
                          Transgender and Nonbinary
Pls’ Trial   PLAINTIFF    Youths Receiving Gender-
                                                                X
Ex. 211      S007121      Affirming Care, 2022
                          Tordoff et al.

                          Endocrinology of
Pls’ Trial   PLAINTIFF
                          Transgender Medicine,                 X
Ex. 212      S007134
                          2018 Guy T’Sjoen et al.
                          Alterations in Body
                          Uneasiness, Eating
                          Attitudes, and
                          Psychopathology Before and
Pls’ Trial   PLAINTIFF
                                                                X
Ex. 213      S007155
                          Treatment in Patients with

                          Dysphoria, 2018 Turan et al.




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                          Association Between
                          Recalled Exposure to
                          Gender Identity Conversion
                          Efforts and Psychological
Pls’ Trial   PLAINTIFF
                          Distress and Suicide                X
Ex. 214      S007169
                          Attempts Among
                          Transgender Adults, 2020
                          Turban et al.

                          Access to Gender-Affirming
                          Hormones during
                          Adolescence and Mental
Pls’ Trial   PLAINTIFF
                          Health Outcomes Among               X
Ex. 215      S007186
                          Transgender Adults, 2022
                          Turban et al.

                          Pubertal Suppression for
                          Transgender Youth and Risk
Pls’ Trial   PLAINTIFF
                          of Suicidal Ideation, 2020          X
Ex. 216      S007178
                          Turban et al.

                          Surgical Satisfaction,
                          Quality of Life, and Their
                          Association After Gender-
Pls’ Trial   PLAINTIFF
                          Affirming Surgery: A                X
Ex. 217      S007201
                          Follow-up Study, 2018 van
                          de Grift et al.

                          Psychological Functioning
                          in Transgender Adolescents
                          Before and After Gender-
Pls’ Trial   PLAINTIFF    Affirmative Care Compared
                                                              X
Ex. 218      S007213      With Cisgender General
                          Population Peers, 2020 R.
                          van der Miesen


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                          Effect of Pubertal
                          Suppression and Cross-Sex
                          Hormone Therapy on Bone
                          Turnover Markers and Bone
Pls’ Trial   PLAINTIFF
                          Mineral Apparent Density              X
Ex. 219      S007220
                          (BMAD) in Transgender
                          Adolescents, in Bone in
                          Balance 2020 Vlot

                          Patient Satisfaction with
                          Breasts and Psychosocial,
                          Sexual, and Physical Well-
Pls’ Trial   PLAINTIFF    Being after Breast
                                                                X
Ex. 220      S007419      Augmentation in Male-to-
                          Female Transsexuals, 2013
                          Weigert et al.

                          Cross-Sex Hormone
                          Therapy in Trans Persons Is
Pls’ Trial   PLAINTIFF    Safe and Effective at Short-
                                                                X
Ex. 221      S007428      Time Follow-Up, 2014
                          Wierckx et al.

                          Ten Common Questions
                          (and Their Answers) About
Pls’ Trial   PLAINTIFF
                          Off-label Drug Use, 2012              X
Ex. 222      S007441
                          Wittich et al.

                          Cognitive, Emotional, and
                          Psychosocial Functioning of
                          Girls Treated with
Pls’ Trial   PLAINTIFF    Pharmacological Puberty
                                                                X
Ex. 223      S007450      Blockage for Idiopathic
                          Central Precocious Puberty,
                          2016 Wojniusz et al.


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Trial Ex.                                                Will   May
              Bates No.      Exhibit Description                      Defendants’
  No.                                                    Use    Use
                                                                      Objections
                          Off-label Medication
                          Prescribing Patterns in
Pls’ Trial   PLAINTIFF
                          Pediatrics: An Update, 2019           X
Ex. 224      S007462
                          Yackey et al.

                          Functional Ovarian Reserve
                          in Transgender Men
Pls’ Trial   PLAINTIFF
                          Receiving Testosterone                X
Ex. 225      S007470
                          Therapy, 2021 Yaish et al.

                          Management of Endocrine
Pls’ Trial   PLAINTIFF    Disease: Long term outcome
                                                                X
Ex. 226      S006683      of central precocious
                          puberty
                          Presidential Memorandum
                          for the Secretary of Defense
                          and the Secretary of
Pls’ Trial   PLAINTIFF
                          Homeland Security                     X
Ex. 227      S001128
                          Regarding Military Service
                          by Transgender Individuals
                          (March 23, 2018)
Pls’ Trial
                                   Intentionally Left Blank
Ex. 228
Pls’ Trial   PLAINTIFF    Template Notice of Adverse
                                                     X
Ex. 229      S001343      Benefit Determination
Pls’ Trial   PLAINTIFF    Template Notice of Plan
                                                     X
Ex. 230      S001294      Appeal Resolution
Pls’ Trial   PLAINTIFF    Sample AHCA Final Order
                                                                X
Ex. 231      S001286      – 20-FH0855
             PLAINTIFF
Pls’ Trial   S000818 -    Medical records of August
                                                         X
Ex. 232      PLAINTIFF    Dekker
             S000838
Pls’ Trial
                                   Intentionally Left Blank
Ex. 233


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Trial Ex.                                            Will   May
              Bates No.      Exhibit Description                  Defendants’
  No.                                                Use    Use
                                                                  Objections
             PLAINTIFF
             S000168
Pls’ Trial                Medical records of Brit
             thru                                    X
Ex. 234                   Rothstein
             PLAINTIFF
             S000182
             PLAINTIFF
             S000839
Pls’ Trial                Medical records of Brit
             thru                                    X
Ex. 234A                  Rothstein
             PLAINTIFF
             S000998
             PLAINTIFF
             S000041
Pls’ Trial   thru
                          Medical records of K.F.    X
Ex. 235      PLAINTIFF
             S000167

             PLAINTIFF
             S000200
Pls’ Trial
             thru         Medical records of K.F.    X
Ex. 235A
             PLAINTIFF
             S000647
             PLAINTIFF
             S000001
Pls’ Trial   thru
                          Medical records of S.D.    X
Ex. 236      PLAINTIFF
             S000040

             PLAINTIFF
             S000183
Pls’ Trial
             thru         Medical records of S.D.    X
Ex. 236A
             PLAINTIFF
             S000199
             PLAINTIFF
Pls’ Trial
             S000648      Medical records of S.D.    X
Ex. 236B
             thru


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                                                                  Stipulated/
Trial Ex.                                            Will   May
              Bates No.      Exhibit Description                  Defendants’
  No.                                                Use    Use
                                                                  Objections
             PLAINTIFF
             S000817
             PLAINTIFF
             S000999
Pls’ Trial
             thru         Medical records of S.D.    X
Ex. 236C
             PLAINTIFF
             S001005
Pls’ Trial   Def_001562
                          Dekker medical records     X
Ex. 237      290
Pls’ Trial   Def_001557
                          Dekker medical records     X
Ex. 237A     555
Pls’ Trial   Def_000174   GAPMS Decision Tree
                                                     X
Ex. 238      290          Checklist
                          GAPMS – GnRH for
Pls’ Trial   Def_000286
                          treatment of gender        X
Ex. 239      939
                          dysphoria
                          GAPMS – GnRH for
Pls’ Trial   Def_000288
                          treatment of gender        X
Ex. 240      776
                          dysphoria
                          GAPMS – Cross Sex
Pls’ Trial   Def_000126
                          Hormone Therapy –          X
Ex. 241      105
                          5/20/2022
             Def_000086   GAPMS – Cross Sex
Pls’ Trial
             666          Hormone Therapy Report     X
Ex. 242
                          (edited) - 5/20/2022
             Def_000293   GAPMS – Cross Sex
Pls’ Trial
             866          Hormone Therapy –          X
Ex. 243
                          11/2/2016
             Def_000295   GAPMS – Gender
Pls’ Trial
             586          Confirmation Surgery              X
Ex. 244
                          (incomplete) – 7/19/2017
Pls’ Trial   Def_000322   DUR Meeting Transcript –
                                                            X
Ex. 245      520          9/26/2015
Pls’ Trial   Def_000320   DUR Quarterly Report -
                                                            X
Ex. 246      588          2015


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                                                                     Stipulated/
Trial Ex.                                               Will   May
              Bates No.      Exhibit Description                     Defendants’
  No.                                                   Use    Use
                                                                     Objections
Pls’ Trial   Def_000331   DUR Meeting Minutes –
                                                               X
Ex. 247      626          1/16/2016
Pls’ Trial   Def_000364   DUR Meeting Minutes –
                                                               X
Ex. 248      680          9/24/2016
Pls’ Trial   Def_000344
                          Pharmacy log – 5/31/2016             X
Ex. 249      341
             Def_000351
Pls’ Trial                AHCA review of research –
             681                                               X
Ex. 250                   7/25/2016
Pls’ Trial   Def_000356   AHCA review of state
                                                               X
Ex. 251      616          practice – 8/17/2016
                          Arlene Elliot research
Pls’ Trial   Def_000352   regarding Medicaid
                                                        X
Ex. 252      792          coverage of care in other
                          states – July 27, 2016
                          Arlene Elliot research
Pls’ Trial   Def_000352   regarding Medicaid
                                                        X
Ex. 252A     793          coverage of care in other
                          states – July 27, 2016
                          Arlene Elliot research
Pls’ Trial   Def_000355   regarding Medicaid
                                                        X
Ex. 252B     079          coverage of care in other
                          states – July 27, 2016
                          Arlene Elliot research
Pls’ Trial   Def_000355   regarding Medicaid
                                                        X
Ex. 252C     079-1        coverage of care in other
                          states – July 27, 2016
                          Aetna clinical criteria for
Pls’ Trial   Def_000360
                          cross-sex hormone therapy –          X
Ex. 253      646
                          8/18/2016
Pls’ Trial   Def_000369   Arlene Elliot email re GnRH
                                                        X
Ex. 254      549          coverage – 8/29/2016
                          Rebecca Borgert email
Pls’ Trial   Def_000366
                          regarding Endocrine Society   X
Ex. 255      785
                          guidelines – 8/29/2016


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                                                                    Stipulated/
Trial Ex.                                              Will   May
              Bates No.      Exhibit Description                    Defendants’
  No.                                                  Use    Use
                                                                    Objections
                          AHCA GAPMS routing and
Pls’ Trial   Def_000289   tracking form for puberty
                                                       X
Ex. 256      927          suppression therapy –
                          8/31/2016
                          Special services criteria re
Pls’ Trial   Def_000148
                          GnRH coverage – 9/20/2016 X
Ex. 257      820
                          (updated 11/17/17)
                          AHCA letter to Children’s
Pls’ Trial   Def_000363   Medical Services re drug
                                                              X
Ex. 258      625          criteria and coverage –
                          10/6/2016
                          AHCA tracking form for
Pls’ Trial   Def_000368
                          GAPMS research re puberty           X
Ex. 259      873
                          suppression – 9/26/2016
                          AHCA GAPMS routing and
Pls’ Trial   Def_000295   tracking form for cross-sex
                                                       X
Ex. 260      599          hormone therapy –
                          11/2/2016
                          FL House letter to AHCA re
Pls’ Trial   Def_000374
                          drug treatment for gender           X
Ex. 261      025
                          dysphoria – 11/22/2016
Pls’ Trial   Def_000434
                          DUR transcript – 3/23/2017   X
Ex. 262      874
                          Draft GAPMS re gender-
Pls’ Trial   Def_000289
                          affirming surgery –          X
Ex. 263      947
                          7/19/2017
                          Email exchange re Medicaid
Pls’ Trial   Def_000824   coverage of gender
                                                       X
Ex. 264      992          affirming surgery – June
                          2018
                          Email exchange re Medicaid
Pls’ Trial   Def_000824   coverage of gender
                                                       X
Ex. 264A     996          affirming surgery – June
                          2018
Pls’ Trial   Def_000825   AHCA routing form
                                                       X
Ex. 265      001          tracking response to MCO

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                                                                      Stipulated/
Trial Ex.                                                Will   May
              Bates No.       Exhibit Description                     Defendants’
  No.                                                    Use    Use
                                                                      Objections
                          question about Medicaid
                          coverage of surgery – June
                          2018
                          AHCA document closing
             Def_000825   the project re responding to
Pls’ Trial
             002          MCO question about             X
Ex. 266
                          Medicaid coverage of
                          surgery – June 2018
                          Email from Theresa Kumar
Pls’ Trial   Def_001291
                          to Jesse Botcher –             X
Ex. 267      353
                          10/18/2019
             Def_001463
Pls’ Trial                Email from DD Pickle to
             652                                                X
Ex. 268                   Krisin Sokoloski – 1/5/2022
                          AHCA approval of Simply
Pls’ Trial   Def_000075
                          Healthcare’s provider          X
Ex. 269      977
                          manual – 3/24/2022
                          AHCA approval of Simply
Pls’ Trial   Def_000075
                          Healthcare’s provider          X
Ex. 269A     979
                          manual – 3/24/2022
                          AHCA approval of Simply
Pls’ Trial   Def_000023
                          Healthcare’s provider          X
Ex. 269B     694
                          manual – 3/24/2022
                          AHCA approval of Simply
Pls’ Trial   Def_000055
                          Healthcare’s provider          X
Ex. 269C     220
                          manual – 3/24/2022
Pls’ Trial   Def_000076   Email re commercial plan
                                                         X
Ex. 270      888          coverage – 3/24/2022
                          Communication from Peter
Pls’ Trial   Def_001490   Ring re procedures billed to
                                                         X
Ex. 271      062          treat gender dysphoria –
                          4/7/2022
                          Email from Andy Bardos to
Pls’ Trial   Def_000290   Andrew Sheeran re Cantor
                                                         X
Ex. 272      175          and legal research –
                          4/11/2022

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                                                                      Stipulated/
Trial Ex.                                                Will   May
              Bates No.      Exhibit Description                      Defendants’
  No.                                                    Use    Use
                                                                      Objections
                          Email forwarded by Andrew
Pls’ Trial   Def_000290   Sheeran from Ashley Lukis
                                                         X
Ex. 273      279          scheduling a call with James
                          Cantor – 4/13/2022
                          Email from Andrew Sheeran
Pls’ Trial   GROSSMA
                          to Miriam Grossman –           X
Ex. 274      N0029
                          4/14/2022
                          Email exchange between
Pls’ Trial   Def_000290   Andrew Sheeran and
                                                         X
Ex. 275      289          Romina Brignardello
                          Petersen – 4/18/2022
                          Email from Susan Williams
             Def_001490   to Shantrice Green re
Pls’ Trial
             846          GAPMS on cross-sex             X
Ex. 276
                          hormone therapy –
                          4/20/2022
                          Email from Amy Zitiello to
Pls’ Trial   Def_001490   Vern Hamilton regarding
                                                         X
Ex. 277      891          FDOH guidance –
                          4/20/2022
                          Email from Amy Zitiello to
Pls’ Trial   Def_001490   Vern Hamilton regarding
                                                         X
Ex. 277A     903          FDOH guidance –
                          4/20/2022
                          Email from Cody Farill
Pls’ Trial   Def_000087   regarding data from
                                                         X
Ex. 278      135          Magellan about drug
                          coverage - 4/20/2022
                          Communication between
Pls’ Trial   Def_001709   Jason Weida and Dr.
                                                         X
Ex. 279      796          Michelle Cretella –
                          4/21/2025
                          Communication between
Pls’ Trial   Def_001899   Romina Brignardello-
                                                                X
Ex. 280      938          Petersen and Jason Weida
                          regarding types of surgeries

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                                                                    Stipulated/
Trial Ex.                                              Will   May
              Bates No.      Exhibit Description                    Defendants’
  No.                                                  Use    Use
                                                                    Objections
                          on which to focus –
                          4/25/2022
                          Communication between
                          Jason Weida and Vern
Pls’ Trial   Def_001496   Hamilton regarding planned
                                                       X
Ex. 281      338          response to Dr. Zitiello’s
                          question about FDOH
                          guidance – 4/29/2022
                          Draft GAPMS on gender
             AHCA         affirming surgery (with
Pls’ Trial
             EXP_00571                                 X
Ex. 282                   handwritten notes) - May
             6
                          2022
                          Jason Weida communication
Pls’ Trial   Def_001553   regarding report from
                                                       X
Ex. 283      119          Romina Brignardello-
                          Petersen – 5/5/2022
                          Jason Weida communication
Pls’ Trial   Def_001553   regarding report from
                                                       X
Ex. 283A     161          Romina Brignardello-
                          Petersen – 5/5/2022
                          Jason Weida communication
Pls’ Trial   Def_001553   regarding report from
                                                       X
Ex. 283B     120          Romina Brignardello-
                          Petersen – 5/5/2022
                          Jason Weida communication
Pls’ Trial   Def_001553   regarding report from
                                                       X
Ex. 283C     166          Romina Brignardello-
                          Petersen – 5/5/2022
                          Jason Weida communication
Pls’ Trial   Def_001553   regarding report from
                                                       X
Ex. 283D     174          Romina Brignardello-
                          Petersen – 5/5/2022
Pls’ Trial   Def_001553   Jason Weida communication
                                                       X
Ex. 283E     125          regarding report from
                                       37
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                                                                     Stipulated/
Trial Ex.                                               Will   May
              Bates No.      Exhibit Description                     Defendants’
  No.                                                   Use    Use
                                                                     Objections
                          Romina Brignardello-
                          Petersen – 5/5/2022
                          Jason Weida communication
Pls’ Trial   Def_002174   regarding articles provided
                                                        X
Ex. 284      114          to him by Dr. Van Mol –
                          5/6/2022
                          Dr. Van Mol
                          communication with Jason
Pls’ Trial   Def_001497
                          Weida and Matthew             X
Ex. 285      585
                          Brackett about gender
                          affirming care – 5/7/022
                          Dr. Van Mol’s edits to June
Pls’ Trial   Def_000296
                          2022 GAPMS memo –             X
Ex. 286      902
                          5/13/2022
                          Dr. Van Mol’s edits to June
Pls’ Trial   Def_000296
                          2022 GAPMS memo –             X
Ex. 286A     902-1
                          5/13/2022
                          Dr. Van Mol’s edits to June
Pls’ Trial   Def_000296
                          2022 GAPMS memo –             X
Ex. 286B     902-2
                          5/13/2022
                          Text message from Jason
Pls’ Trial   EOG_00812    Weida regarding Eknes-
                                                        X
Ex. 287      6            Tucker and James Cantor –
                          5/17/2022
                          Email from Shantrice Green
                          to Susan Williams and Kelly
Pls’ Trial   Def_001968   Rubin regarding the
                                                        X
Ex. 288      264          GAPMS memo on cross-sex
                          hormone therapy –
                          5/20/2022
                          Draft of GAPMS cross-sex
Pls’ Trial   Def_002878
                          hormone therapy memo –        X
Ex. 289      820
                          5/20/2022


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                                                                     Stipulated/
Trial Ex.                                               Will   May
              Bates No.      Exhibit Description                     Defendants’
  No.                                                   Use    Use
                                                                     Objections
                          Jason Weida asks Dr. Van
             AHCA         Mol for assistance locating
Pls’ Trial
             EXP_00476                                  X
Ex. 290                   specific witnesses –
             2
                          5/21/2022
                          Email between Dr. Van Mol
Pls’ Trial   Def_000291
                          and Jason Weida regarding     X
Ex. 291      698
                          reimbursement – 5/21/2022
                          Invoices from Romina
Pls’ Trial   Def_002885
                          Brignardello-Petersen –       X
Ex. 292      062
                          5/24/2022
                          Invoices from Romina
Pls’ Trial   Def_002885
                          Brignardello-Petersen –       X
Ex. 292A     063
                          5/24/2022
                          Template denial for
Pls’ Trial   Def_000286
                          requesting rule workshop –           X
Ex. 293      991
                          June 2022
Pls’ Trial   EOG_00823    Projected Rulemaking
                                                        X
Ex. 294      9            Timeline – June 2022
                          Gender
Pls’ Trial   EOG_00824    Dysphoria/Transgender
                                                        X
Ex. 295      0            Health Care Non-Legislative
                          Pathway – June 2022
                          Gender
Pls’ Trial   EOG_00824    Dysphoria/Transgender
                                                        X
Ex. 296      1            Health Care Policy Pathway
                          – June 2022
                          AHCA GAPMS routing and
Pls’ Trial   Def_000295
                          tracking form for June 2022   X
Ex. 297      608
                          GAPMS – 6/1/2022
                          AHCA GAPMS routing and
Pls’ Trial   Def_000288
                          tracking form for June 2022   X
Ex. 297A     171
                          GAPMS – 6/1/2022
Pls’ Trial   Def_002873   Communication between
                                                               X
Ex. 298      411          Ashley Peterson and Jason
                                       39
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Trial Ex.                                                 Will   May
              Bates No.       Exhibit Description                      Defendants’
  No.                                                     Use    Use
                                                                       Objections
                          Weida regarding an
                          inventory of gender
                          affirming care – 6/3/2022
                          Communication between
                          Ashley Peterson and Jason
Pls’ Trial   Def_002873
                          Weida regarding an                     X
Ex. 298A     412
                          inventory of gender
                          affirming care – 6/3/2022
                          Email communication
                          between AHCA and
Pls’ Trial   Def_000288
                          Magellan regarding              X
Ex. 299      753
                          coverage of GnRH to treat
                          gender dysphoria
                          AHCA communication
Pls’ Trial   Def_001900   regarding the Special
                                                          X
Ex. 300      110          Services Criteria for puberty
                          blockers – 6/10/2022
                          Communication between
Pls’ Trial   Def_001900   Jason Weida and Dr. Van
                                                          X
Ex. 301      113          Mol about a witness for the
                          July 8th hearing – 6/14/2022
             Def_000174   Email communication
Pls’ Trial   299          between Dr. Christopher
                                                          X
Ex. 302                   Cogle and Jeffrey English –
                          6/27/2022
                          Communication regarding
                          meeting between Miriam
                          Grossman, Dr. Van Mol,
Pls’ Trial   GROSSMA
                          Jason Weida, Andrew             X
Ex. 303      N0095
                          Sheeran, and Holtzman
                          Vogel regarding July 8th
                          hearing – 6/30/2022



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                                                                     Stipulated/
Trial Ex.                                               Will   May
              Bates No.       Exhibit Description                    Defendants’
  No.                                                   Use    Use
                                                                     Objections
                        Communication between
Pls’ Trial   Def_000296
                        Dr. Van Mol and AHCA -          X
Ex. 304      975
                        7/2/2022
Pls’ Trial   FDOH_0000 Brief of the July 8th rule
                                                        X
Ex. 305      04873      hearing – 7/8/2022
Pls’ Trial   Def_000296 Transcript from July 8th rule
                                                        X
Ex. 306      244        hearing – 7/8/2022
Pls’ Trial   Def_000296 Email from Miriam
                                                        X
Ex. 307      949        Grossman – 7/10/2022
                        Email communications with
Pls’ Trial   Def_000291
                        Jason Weida and Dr. Van         X
Ex. 308      900
                        Mol – 7/14/2022
                        Communications regarding
Pls’ Trial   GROSSMA AHCA’s development of
             N0067      public comment binder           X
Ex. 309
                        provided to the consultants
                        – 7/19/2022
Pls’ Trial   Def_000237 Invoice from Dr. Van Meter
                                                        X
Ex. 310      607        – 8/4/2022
                        Communication to Jason
Pls’ Trial   EOG_00812
                        Weida regarding witnesses       X
Ex. 311      7
                        for a hearing – 8/10/2022
Pls’ Trial   Def_000239 Invoices from Dr. Van Mol
                                                        X
Ex. 312      820        – 8/11/2022

Pls’ Trial   Def_001892 Email communications
             888        regarding implementation of            X
Ex. 313
                        59G-1.050(7) - 8/22/2022
                        Email communications
Pls’ Trial   Def_001892
                        regarding implementation of            X
Ex. 313A     894
                        59G-1.050(7) - 8/22/2022
                        Communication between
Pls’ Trial   Def_000258
                        AHCA and EOG regarding          X
Ex. 314      835
                        planned communications

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                                                                        Stipulated/
Trial Ex.                                                  Will   May
              Bates No.       Exhibit Description                       Defendants’
  No.                                                      Use    Use
                                                                        Objections
                          about June 2022 GAPMS
                          and 59G-1.050(7) -
                          8/22/2022
                          SMMC Policy Transmittal
                          draft regarding non-
Pls’ Trial   Def_000258
                          coverage of gender               X
Ex. 315      833
                          dysphoria treatments –
                          August 22, 2022
                          AHCA Medicaid Health
Pls’ Trial   Def_000258   Care Alert regarding
                                                           X
Ex. 316      839          prohibition on coverage for
                          gender affirming care
                          AHCA draft response to
Pls’ Trial   Def_000274
                          media regarding gender           X
Ex. 317      811
                          affirming care – 9/1/2022
                          List of appeals for denials of
Pls’ Trial   Def_000289
                          hormone therapy –                X
Ex. 318      978
                          12/19/2022
                          List of requests for surgery
Pls’ Trial   Def_000290
                          to treat gender dysphoria –      X
Ex. 319      022
                          12/19/2022
                          AHCA After the Fact
Pls’ Trial   Def_000272
                          Request form for Quentin         X
Ex. 320      295
                          Van Meter – 6/13/2022
                          AHCA After the Fact
Pls’ Trial   Def_000241
                          Request form for Andre Van       X
Ex. 321      592
                          Mol – 5/26/2022
                          Draft of welcome/opening
Pls’ Trial   Def_001551
                          remarks for July 8th rule               X
Ex. 322      590
                          hearing
Pls’ Trial   Def_001511   Endocrine Society public
                                                           X
Ex. 323      705          comment
Pls’ Trial   Def_001514
                          Yale public comment              X
Ex. 324      249
                                         42
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                                                                    Stipulated/
Trial Ex.                                              Will   May
              Bates No.      Exhibit Description                    Defendants’
  No.                                                  Use    Use
                                                                    Objections


Pls’ Trial   Def_001511   American Academy of
                                                    X
Ex. 325      606          Pediatrics public comment
                          Florida Medicaid, Comment
Pls’ Trial   Def_001551   Summary for Rule 59G-
                                                              X
Ex. 326      644          1.050 (20 pages)

                          Florida Medicaid, Comment
Pls’ Trial   Def_001551
                          Summary for Rule 59G-        X
Ex. 327      664
                          1.050 (17 pages)
                          Email communication
Pls’ Trial   Def_000296
                          between Van Mol and          X
Ex. 328      892
                          Weida and attachment
                          Email communication
Pls’ Trial   Def_000296
                          between Van Mol and          X
Ex. 328A     892-1
                          Weida and attachment
                          Florida Medicaid & G/TAT,
Pls’ Trial   Def_000290
                          Andrea Van Mol – May         X
Ex. 329      414
                          2022
Pls’ Trial   Def_000286   GAPMS – Specially
                                                       X
Ex. 330      954          Modified Foods
Pls’ Trial   Def_000286   GAPMS – Scleral Contact
                                                       X
Ex. 331      961          Lenses
Pls’ Trial   Def_000286   GAPMS – Fractional
                                                       X
Ex. 332      947          Exhaled Nitric Oxide
Pls’ Trial   Def_000286
                          GAPMS – Breast Pump          X
Ex. 333      931
Pls’ Trial   Def_000291   Email from Miriam
                                                       X
Ex. 334      815          Grossman – July 7, 2022
             EOG_00252    Proposed media response
Pls’ Trial
             2            from Brock Juarez to Taryn   X
Ex. 335
                          Fenske – 8/29/2022


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                                                                  Stipulated/
Trial Ex.                                            Will   May
              Bates No.      Exhibit Description                  Defendants’
  No.                                                Use    Use
                                                                  Objections
Pls’ Trial   Def_000178
                          Order striking Van Meter   X
Ex. 336      126
                          Email communication
Pls’ Trial   Def_001593
                          between Van Meter and      X
Ex. 337      749
                          AHCA Counsel
Pls’ Trial   Def_000288   AHCA Microsoft Teams
                                                     X
Ex. 338      298          Meeting Invite
                          Email communication
Pls’ Trial   Def_002883
                          between Van Meter and      X
Ex. 339      110
                          Jason Weida
Pls’ Trial   Def_000237
                        AHCA Van Meter Invoice       X
Ex. 340      603
Pls’ Trial   FDOH_0000 HCA Hearing on General
                                                     X
Ex. 341      20148      Medicaid Policy
                        Email communication
Pls’ Trial   Def_000239
                        between Devona Pickle and    X
Ex. 342      790
                        Van Meter
                        Email communication
Pls’ Trial   Def_000292
                        between consultants,         X
Ex. 343      237
                        counsel, and Van Meter
Pls’ Trial   EOG_00223 AHCA Teams Meeting
                                                     X
Ex. 344      4          Invites
Pls’ Trial   EOG_00228 AHCA Teams Meeting
                                                     X
Ex. 344A     1          Invites
                        Email communication
Pls’ Trial   GROSSMA
                        between AHCA and             X
Ex. 345      N_0058
                        consultants
                        Email communication
Pls’ Trial   Def_001572
                        between Sheeran and                 X
Ex. 346      839
                        Brignardello-Petersen
                        Email communication
Pls’ Trial   Def_000296
                        between Van Mol and                 X
Ex. 347      980
                        Weida

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                                                                      Stipulated/
Trial Ex.                                                Will   May
              Bates No.      Exhibit Description                      Defendants’
  No.                                                    Use    Use
                                                                      Objections
Pls’ Trial   Def_002883   Van Mol comments to
                                                                X
Ex. 348      392          Alstott letter
                          Email communication
Pls’ Trial   Def_000296
                          between Weida Van Meter,              X
Ex. 349      946
                          Van Mol and Grossman
Pls’ Trial   Def_000296   Email communication
                                                                X
Ex. 350      905          between Cantor and Weida
                          Sex Differences in Verbal
Pls’ Trial   PLAINTIFF
                          Fluency during                        X
Ex. 351      S007541
                          Adolescence, 2013 Soleman
                          Oestrogens are Not Related
Pls’ Trial   PLAINTIFF
                          to Emotional Processing,              X
Ex. 352      S007550
                          Soleman 2016
                          Puberty suppression and
Pls’ Trial   PLAINTIFF
                          executive functioning, 2015           X
Ex. 353      S007557
                          Staphorsius
                          Alterations in the inferior
Pls’ Trial   PLAINTIFF
                          fronto-occipital fasciculus,          X
Ex. 354      S007560
                          van Heesewijk
Pls’ Trial   PLAINTIFF    Spreadsheet summarizing
                                                         X
Ex. 355      S005435      Florida Medicaid coverage
                          DOJ, Dear State Attorneys
Pls’ Trial   PLAINTIFF    General Letter re
                                                                X
Ex. 356      S003379      Transgender Youth (March
                          31, 2022)




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Dated: April 27, 2023                   Respectfully Submitted,

                                        /s/William C. Miller

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                           CERTIFICATE OF SERVICE

      I hereby certify that on this 27th day of April, 2023, a true copy of the

foregoing has been filed with the Court utilizing its CM/ECF system, which will

transmit a notice of electronic filing to counsel of record for all parties in this matter

registered with the Court for this purpose.


                                                /s/ William C. Miller
                                                William C. Miller

                                                Attorney for Plaintiffs




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